 8:06-cr-00214-LES-TDT   Doc # 55   Filed: 09/20/06    Page 1 of 2 - Page ID # 73


               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:06CR214
                              )
          v.                  )
                              )
JOSE A. RAMIREZ SOLANO,       )                        ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for continuance (Filing No. 54).        Subject to the filing of a

written waiver of speedy trial, said motion will be granted.

Accordingly,

           IT IS ORDERED that defendant’s motion is granted; trial

of this matter is rescheduled for:

                Monday, November 6, 2006, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.        This is the earliest trial

date available on the Court’s calendar, and it should give

counsel adequate time for trial preparation.             Thus, the ends of

justice will be served by continuing this case and outweigh the

interests of the public and the defendant in a speedy trial.                  The

additional time between September 18, 2006, and November 6, 2006,
 8:06-cr-00214-LES-TDT   Doc # 55   Filed: 09/20/06    Page 2 of 2 - Page ID # 74


shall be deemed excludable time in any computation of time under

the requirement of the Speedy Trial Act.              18 U.S.C.

§ 3161(h)(8)(A) & (B).

           DATED this 20th day of September, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
